                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                  Plaintiff,                   )
                                               )
       v.                                      )         Criminal Action No.
                                               )         09-04003-13-CR-C-NKL
DAMETRELL KODA WASHINGTON,                     )
                                               )
                  Defendant.                   )

                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge William

Knox, to which no objection has been filed, the plea of guilty to Count 1s and 33s of the

Superseding Indictment filed on July 10, 2009 is now accepted. Defendant is adjudged guilty of

such   offense.     Sentencing    will   be   set   by    subsequent   order    of   the     court.




                                                          s/ NANETTE K. LAUGHREY
                                                         NANETTE K. LAUGHREY
                                                         United States District Judge

Kansas City, Missouri
July 29, 2008




       Case 2:09-cr-04003-BCW        Document 324          Filed 07/29/09      Page 1 of 1
